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                 UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA
____________________________________
UNITED STATES OF AMERICA,            )
                                     )
              v.                     ) Case No. 1:21-cr-00225 (DLF)
                                     )
TRENISS JEWELL EVANS III,            )
                                     ) Filed Under Seal
                    Defendant.       )
____________________________________)




                       DEFENDANT EVANS’S
                FIRST SENTENCING MEMORANDUM




                                       /s/ Steven A. Metcalf II, Esq.
                                       _________________________
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                 UNITED STATES DISTRICT COURT
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____________________________________)

     DEFENDANT EVANS’S FIRST SENTENCING MEMORANDUM

      Now comes Defendant, TRENISS JEWELL EVANS III, by and through his

counsel, Steven A. Metcalf II, respectfully submits this sentencing memorandum for

this instant case. For the reasons set forth herein, and the recent prior proceeding

before this Honorable Court, Mr. Evans requests that this Memorandum be filed

under seal.




      1.      The Final Presentence Investigation Report (hereafter referred to as

“PSR”) prepared in this matter highlights that Mr. Evans plead to Count 2, Entering

and Remaining in a Restricted Building or Grounds pursuant to 18 USC §

1752(a)(1), of a five-count indictment. (See ECF Doc. 46 at p. 1).

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         2.   As such, Mr. Evans is scheduled for sentencing before this Honorable

Court on September 13, 2022, at 1:00 p.m.

         3.   The PSR additionally highlights that “Mr. Evans accepted

responsibility1 for his criminal conduct in the instant offense by accepting the

elements of the count of conviction and concurring with the factual summary as

recited by the government at the time of his guilty plea.” (See ECF Doc. 46 at p. 7,

¶ 30).

         4.   The PSR section entitled “Offense Level Computation” assessed Mr.

Evans at a “base offense level” of four (4)”. (See ECF Doc. 46 at p. 8, ¶ 32). Under

the section “Specific Offense Characteristics” a “two-level increase” was applied

because “[t]he trespass occurred at a restricted government facility.” (See ECF Doc.

46 at p. 8, ¶ 33). Thus, the “Adjusted Offense Level (Subtotal)” is six (6). (See ECF

Doc. 46 at p. 8, ¶ 37). When Acceptance of Responsibility was taken into account,

the “offense level [decreased]. . . by two levels”, thereby bring the Total Offense

Level back to four (4). (See ECF Doc. 46 at p. 8, ¶ 39-40).

         5.   The PSR, in section “Guideline Provisions” even highlighted the

following:

              Based upon a total offense level of 4 and a criminal history
              category of I, the guideline imprisonment range is zero

1
  The PSR goes on to state: “Mr. Evans accepts full responsibility for entering the Capitol while
unauthorized, being inside the Capitol for approximately 20 minutes, and then voluntarily exiting
the Capitol on January 6, 2021.” (See ECF Doc. 46 at p. 8, ¶ 30).
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             months to six months. Since the applicable guideline range
             is in Zone A of the Sentencing Table, a sentence of
             imprisonment is not required unless the applicable
             guideline in Chapter Two expressly requires such a term.
             USSG §5C1.1(b).

(See ECF Doc. 46 at p. 16, ¶ 76).2

      6.     At a criminal history category of I,3 Chief US Probation Officer in his

“Sentencing Recommendation”, even recommended a sentence of 30 (thirty) days,

supervised release for “1 year”, and a fine of $2,000.00. (See ECF Doc. 47 at p. 1).

      7.




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Exhibit M).


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man who is deeply loved by his family and others, but yet frequently seems to find

himself in the middle of strange, dangerous situations.

      23.    Evans has even found himself in a position of going so far as to

performing CPR on a man, attempting to give him “rescue breaths” as the man “went

blue”, in the height of the pandemic, while all others stayed back out of fear that they

could get COVID. Even the Sheriffs Deputy would not place her mouth on the victim

to deliver breaths as Mr. Evans continued to do to prevent brain damage. (See CPR

Report: Comal County Sheriff’s Office, Incident 8/25/2021 attached as Exhibit I).




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                                                     .).
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      51.    For these reasons, as fully elucidated in the Government’s motion, Your

Honor may disregard the Guidelines, and fashion an appropriate sentence that is

sufficient, but not greater than necessary.

      III. THE SECTION 3553(A) FACTORS SUPPORT IMPOSITION OF A TIME
                    SERVED/POST SUPERVISION SENTENCE.

      52.    Section 3553(a) requires a sentencing court to consider additional

factors when determining its sentence. These additional factors include the nature

and circumstances of the offense, the history and characteristics of the defendant,

the kinds of sentences available, the range established by the Sentencing Guidelines,

any pertinent policy statement from the Sentencing Commission, the need to avoid

unwarranted sentencing disparities and the need to provide restitution to any victims.

Consideration of these additional factors supports a non-Guidelines sentence of time

served.

      53.    As set forth in Mr. Evans’ Plea Agreement, the Guidelines estimated

by Mr. Evans’ prior attorney and the Government were to be as low as a level 4. (See

Plea at p. 3, ¶ 4). This calculation is based on: (1) Base Offense Level (§ 2B2.3(a)):

which equals 4 points, plus Restricted building or grounds, (§ 2B2.3(b)(1)(A)(vii)):

which equals 2 points, minus 2 points for acceptance of responsibility, where the

total is 4 points. That is where Mr. Evans falls: a level 4; a level where no jail should

be sentenced. Simply put, the true level here is a level 4. The custody range for a

level 4 has a statutory provision range of 1 (one) year and guideline provisions of 0
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(zero) to 6 (six) months. Because of all the circumstances described herein, we are

not unreasonable to request mercy and ask for a time served/supervised release

resolution.

A. The History and Characteristics of Mr. Evans

       54.     In imposing his sentence, we ask the Court to consider Mr. Evans’ age

and the humanity in Mr. Evans. Mr. Evans was born on November 27, 1974, making

him 47-years-old at time he stands before this Court.11 He reports growing up in a

under lower-middle income neighborhood, to a loving, tightknit family. Mr. Evans

married his wife, Stephanie Evans, twenty-two (22) years ago, where they share two

children, Treniss IV and Stephanie Evans.

       55.     This family is dependent on Mr. Evans as the responsible financial

participant in their family and as a dutiful husband. Throughout their many years of

marriage, Mr. Evans has proudly and honorably remained true to his vows and the

two are very much still in love. After spending 22 years married, Evans and his wife

welcomed two of their loving children into the world: Treniss IV (Twenty years old)

and Tristen (Fifteen years old). Ever since, Mr. Evans has been a devoted father,

provider and mentor to his two children.



11
  Recidivism rates decline rapidly with age, where for Mr. Evans, appearing before this Court,
with no criminal history, at the age of 47 drastically changes the statistics demonstrate a significant
unlikelihood of recidivism. See Measuring Recidivism at 12.



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       56.   Mr. Evans’s brother, John Sharp, describes Mr. Evans as a true leader

and strengthening force for their family during difficult times such as during their

father’s passing and during the Covid-19 pandemic. (See John Sharp’s Letter

attached as Exhibit N). Without Mr. Evans around Mr. Sharp would be forced to

work full time, instead of pursuing his dream at the University of Florida. Without

Mr. Evans, Mr. Sharp fears that Mr. Evans’ children will suffer due to not having “a

positive role model to emulate”. He has personally witnessed his brother walk away

from conversations of an extremist nature and has never known his brother to be a

“purveyor of political violence”. He describes Mr. Evans as someone who is known

to help random people, risking his own safety to the point of almost blinding himself.

He recalls Mr. Evans stepping in to be volunteer coach to assure there were enough

coaches so that all children could continue to play. He is not someone that just talks

about being an active member in the community and helping others – he actually

does it.

       57.   Mr. Evans’ mother, Jan Sharp, cannot say enough about her son, who

she admires for the caring “helpful spirit” he is. Ms. Sharp fears that in addition to

the grief her grandchildren have suffered for the last eighteen months, they will

further be traumatized if their father, an active and meaningful participant in their

lives, is sent away. As a grandmother, she knows that her grandchildren rely on Mr.

Evans and that they “look up to him, depend on him and need him”. She describes


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her son as someone who “provides” for her and “looks out” for her and cannot

imagine her life without him or without him taking care of her. Ms. Sharp, like many

others, knows her son to be “the first one there” if someone needs help. (See Jan

Sharp’s Letter attached as Exhibit O).

      58.    Eric Douglas Clark, a man who Mr. Evans never met but later

recognized him from a video of Mr. Evans aired on a show regarding January 6. Mr.

Clark thanked Mr. Evans for his statements in the ensuing conversation and in 2021,

willingly wrote a letter in support of Mr. Evans. He stated based off Mr. Evans

promoting leaving the protest peacefully, “most of the crowd began to disperse”.

According to Mr. Clark’s account, it is sufficient to state that Mr. Evans played a

role in diffusing January 6th and may have even saved people and police from further

confrontation resulting from the danger that later ensued. (See Eric Douglas Clark’s

Letter attached as Exhibit M).

      59.    Despite his arrest and charges, Mr. Evans’s family remains supportive

and hopeful for a good outcome as Mr. Evans is the primary head of the household,

and provides every day moral and mental support.

B. The Seriousness of the Offense, Respect for the Law, and Just Punishment
   for the Offense.

      60.    A non-Guidelines sentence at or below time-served is appropriate and

sufficient to reflect the seriousness of the offense of which Mr. Evans was convicted

and to promote respect for the law and to provide just punishment. In fact, a sentence
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of an overly lengthy incarceration may undercut respect for the law. Gall v United

States, 552 U.S. 38, 54 (2007) (highlighting “a sentence of imprisonment may work

to promote not respect, but derision, of the law if the law is viewed as merely a

means to dispense harsh punishment without taking into account the real conduct

and circumstances involved in sentencing”).

C. Adequate Deterrence to Future Criminal Conduct.

      61.    Imposing a sentence of time served in this case would have little, if any,

bearing on deterrence. Empirical research shows no relationship between sentence

length and deterrence. In a pre-Guideline study of specific deterrence, no difference

in deterrence was found as a result of sentence severity, including between probation

and imprisonment. See ANDREW         VON   HIRSCH, et al., Criminal Deterrence and

Sentence Severity: An Analysis of Recent Research (1999) (concluding “correlations

between sentence severity and crime rates . . . were not sufficient to achieve

statistical significance,” and that “the studies reviewed do not provide a basis for

inferring that increasing the severity of sentences generally is capable of enhancing

deterrent effects.”).

      62.    “There is generally no significant association between perceptions of

punishment levels and actual levels . . . implying that increases in punishment levels

do not routinely reduce crime through general deterrence mechanisms.” GARY




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KLECK, et al., The Missing Link in General Deterrence Theory, 43 Criminology 623

(2005).

      63.    In addition to the ineffectiveness of imprisonment on deterrence, an

over-emphasis on general deterrence poses the ethical problem of punishing one

person to promote deterrence of others. “Judicial punishment can never be

administered merely as a means for promoting another good either with regard to

the criminal himself or to civil society, but must in all cases be imposed only because

the individual on whom it is inflicted has committed a crime. For one man ought

never to be dealt with merely as a means subservient to the purpose of another.”

IMMANUEL KANT, The Science of Right, 195 (W. Hastie trans., 1790). General

deterrence simply is not a good reason for a lengthy prison term.

      64.    As highlighted above, Mr. Evans has three primary built-in deterrents

which all militate against recidivism or a recurrence of the conduct in this case. The

first is the love, support, and nurturing that he receives from his wife. This is the

anchor that has kept Mr. Evans steady and righted in these heavy seas. I have spoken

with Mr. Evans and his wife together several times. None of us can dispute the power

of love, nor should we want to. I have also been able to view the love they have for

their two children, which goes to my second point.

      65.    The second reason is clearly Mr. Evans ’s two children. Mr. Evans is a

good father, who plays a vital part parenting, to providing these two young children


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with love, guidance, and knowledge. And, when coupled with the affection and love

of his wife, that power is doubled. These two deterrents are immensely strong.

      66.



                                                                                 .




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                  IV. ADDITIONAL FACTORS ABOUT MR. EVANS

A. Mr. Evans Performed CPR on a Medical Emergency, Heart Attack Situation
   When Nobody Else Would.

      68.    On August 25, 2021, Mr. Evans was boating with a friend when they

noticed a capsized jet ski a couple hundred yards from them. They stopped their

water activity and went to help the capsized jet ski recover, at which point they

realized another jet ski had already taken the operator of the capsized ski to the boat

ramp. Mr. Evans was preparing a tow line to bring in the capsized ski when he heard

desperate screams for help from the boat ramp. He quickly engaged his engine and

headed to the boat ramp, where he could hear the desperate screams louder as he got

closer.

      69.    In quick measure, Mr. Evans took a shallow dive into the waist deep

water as the boat slowed, and swam to the ramp as fast as possible to assist with the

apparent emergency. Upon arrival he found a teenage girl with a man who appeared

in his late fifties, in apparent cardiac arrest. The man was laying in the supine

position on the concrete ramp. The man had a pulse and was breathing at the time

of Evans arrival. He instructed the girl to call 911 and relay the medical information

that he was sharing with her to the 911 operator. The victim was aspirating fluids

and was beginning to turn blue.



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      70.     Mr. Evans followed his training as a wilderness first responder, CPR

Instructor, First Aid Instructor, Licensed Coast Guard Captain. Working towards

saving the man’s life, he turned the man on his side and attempted multiple airway

sweeps, after determining the airway was clear he noticed the man had stopped

breathing. The man had blood known as flash pulmonary edema. As such, Evans

began “rescue breaths”. The Sherriff arrived on scene after a few minutes, and he

and Mr. Evans worked together attempting to save the man, with the sheriff doing

chest compressions. Mr. Evans continuing to do “rescue breaths” that nobody

including the Sheriffs would do. The paramedics arrived on scene and worked for

another thirty minutes before this individual was sadly pronounced dead at the scene.

(See CPR Report: Comal County Sheriff’s Office, Incident 8/25/2021 attached as

Exhibit I).

 B. Mr. Evans is Exceedingly Contrite and Remorseful for His Conduct.

      70.     Mr. Evans is quite self-reproving, sincerely remorseful, and duly

contrite. He is embarrassed of this criminal conduct and the shame he has brought

upon himself and his family. He has entered his plea of guilty voluntarily. He has

admitted his guilt to this Court and to the Probation Department. By reason of this

experience, this conduct will not recur.




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                                  V. CONCLUSION

      Mr. Evans requests compassion and leniency in this matter. As the U.S.S.G.

is now advisory, and the mandatory minimum sentences may be avoided

                                                                 this Court has great

discretion to fashion a sentence which is sufficient, but not greater than necessary,

to comply with the purposes of sentencing.            A sentence of time served, and

supervised release is more than sufficient to meet the sentencing goals of providing

just punishment, adequate deterrence, public protection and rehabilitation

opportunity.

      Wherefore, Mr. Evans respectfully requests that this Honorable Court impose

a sentence of time served, which is sufficient, but not greater than necessary, to

comply with the statutory directives set forth in 18 U.S.C. § 3553 (a). Mr. Evans

further requests that this Court waive all fines and penalties in this matter.



                                        Respectfully Submitted,

                                        /s/ Steven Alan Metcalf II
                                        _______________________________
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                             CERTIFICATE OF SERVICE


       I hereby certify that, on September 9, 2022, this motion was filed via the Court’s

electronic filing system, which constitutes service upon all counsel of record.

       .


                                          /s/ Steven Alan Metcalf II
                                          _______________________________

                                          STEVEN A. METCALF II, ESQ.


                                          Counsel for Defendant Treniss Jewell Evans III




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